Case 1:22-mc-00096-RC Document 1-48 Filed 10/17/22 Page 1 of 4

EXHIBIT A-48
Case 1:22-mc-00096-RC Document 1-48 Filed 10/17/22 Page 2 of 4

DISTRICT OF COLUMBIA COURT OF APPEALS | *)°. xeceven
BOARD ON PROFESSIONAL RESPONSIBILITY | se atest
In the Matter of Tepes”
JEFFREY B. CLARK Disciplinary Docket No.
A Member of the Bar of the District 2021-D193

of Columbia Court of Appeals
Bar No. 455315

Date of Admission: July 7, 1997

RESPONDENT’S WITHDRAWAL OF
MOTION REGARDING PUBLICLY
AVAILABLE FILINGS

Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and
withdraws his Motion Regarding Publicly Available filings as moot in light of the
ruling of the District of Columbia Court of Appeals on September 15, 2022, and
the Board Chair’s ensuing Order later on September 15, 2022, ordering that all
previously sealed filings in this case be filed in unredacted form within two days of
September 15, 2022. All filings appear to have been placed on the public website.
Respondent maintains his objections to the aforementioned orders of the Court and
Board for the grounds stated in previous filings.

Respectfully submitted this 19 day of September, 2022.
Case 1:22-mc-00096-RC Document 1-48 Filed 10/17/22 Page 3 of 4

/s/ Charles Burnham

Charles Burnham

DC Bar No. 1003464

Burnham and Gorokhov, PLLC
1424 K Street, NW

Suite 500

Washington DC 20005

(202) 386-6920
charles@burnhamgorokhov.com

Harry W. MacDougald*

Georgia Bar No. 453076

Caldwell, Carlson, Elliott & DeLoach,
LLP

Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346

(404) 843-1956
hmacdougald@ccedlaw.com

* Motion for pro hac vice admission in
progress

Robert A. Destro*

Ohio Bar #0024315

4532 Langston Blvd, #520
Arlington, VA 22207
202-319-5303
robert.destro@protonmail.com

* Motion for pro hac vice admission in
progress
Case 1:22-mc-00096-RC Document 1-48 Filed 10/17/22 Page 4 of 4

CERTIFICATE OF SERVICE
I hereby certify that I have on this day served counsel for the opposing party
with a copy of this Respondent’s Withdrawal of Motion regarding Publicly
Available Filings by U.S. First Class Mail with sufficient postage thereon to insure
delivery, and by email addressed to:

Hamilton P. Fox

Jason R. Horrell

D.C. Bar

Building A, Room 117
515 5th Street NW
Washington DC 20001
foxp@dcodc.org

This this 19 day of September, 2022.

/s/ Charles Burnham
Charles Burnham
DC Bar No. 1003464

1424 K Street, NW

Suite 500

Washington DC 20005

(202) 386-6920
charles@burnhamgorokhov.com
